                                  Case 3:19-cv-00093-JR                     Document 1                Filed 01/18/19          Page 1 of 18
: •• 1    '




          AO 242 (12111) Petition for a Writ o£Hnbeas CotpUS Under 28 U.S.C. § 2241


                                                  UNITED STATES DISTRICT COURT
                                                                                      for the ·


                                                                                         )
                                                                                         )
                  BILLY F, STEFFEY JR.                                                   )
                                         Petitioner                                     )
                                                                                        )
                                             v,                                         )        CaseNo.       3:19-cv-00093-JR
                                                                                        )                           (Supplied by Clerk ofCourt) ·
                                                                                        )
                 WARDEN J. SALAZAR                                                      )
                                Resp<Jruknt                                             )
          (name ofw~n or authorized per~on having custo,zy ofpetiticner)


                                   PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241
                                                                        Personal Information

         I.        (a) Your full name:        Billy F. Steffey Jr.
                   (b) Other names you have used:
         '2.       Place of confinement:
                 . (a). Name .of institution:   Sheridan FCI tv'!T. .,. - . __
                                                                            ... ·-·-                                   _ _ _ _ _ _ _ _ _ _ __
                   (b) Address:                 27072 SE Ballston Road
                                                           Sheridan, OR 97378


                  m'ederal authorities                  □ State   authorities                □   Other • explain:

         4.       Are you currently:
                  0 A pretrial detainee (waiting for trial on criminal charges)
                 )OServing a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
                   If you are currently serving a sentence, provide:
                         (a) Name and location of court that sentenced you:          District of Nevada Las Vegas

                             (b) Docketnumberofcrimlnalcase:                                2: 12-cr-00083-APG-GWF
                             (c) Date of sentencing:    August                          14, 2014
                  □ Being     held on an immigration charge .
                  OOther (,up/ain):




                                                                                                                                                    2 of 10

                 #81889
                          Case 3:19-cv-00093-JR                     Document 1         Filed 01/18/19           Page 2 of 18


AO 242 (12/ll) Pe1ifion ft>r a Writ of Habeas Corpus Under 28 U.S.C. § 2241

                                                    Decision or Action You Are Challenging

S.        What are you challenging in this petition:
          □ How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
            revocation or calculation of good time c.redits)
          dPretrial detention
          0 Immigration detention
          □ Detainer
          O The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
            maximlllll or improperly calculated under the sentencing guidelines)
       ~Disciplinary proceedings
         □ Other (explain):




6.        Provide more infonnation about the decision or action you are challenging:
          (a) Name and location of the age_ncy or court:

          (b) Docket number, case number, or opinion number:
          (c) Decision or action you are challenging (for disciplinary proceedings, specify the penalties imposed):
            Disciplinary hearing in which I lost 41 good days



          (d) Date of the decision or action:                       February S, 2018

                                             Your Earlier Challenges of       the Decision or Action .
7.       First appeal
         Did you appeal the decision, file a grievance, or seek an administrative remedy?
        l@Yes                    □ No
         (a) If ''Yes," provide:
                  (1) Name of the authority, agency, or court: --B,,_O""""P_.,R.,,e,..g,..j,.,o""n..,..
                                                                                                     a..,l__..Ou.f._.f,...i...,c..,e..__ _ _ _ _ __

                    (2) Date of filing:   March 19, 2 018
                    (3) Docket number, case number, or opinion number:                           3D84272
                    (4) Result:         _.::D..ce.c.n_i_e_d_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    (5) Date ofresul;:
                    (6)   Issues raised:




                                                                                                                                         P,gc3 of JO
                         Case 3:19-cv-00093-JR                    Document 1    Filed 01/18/19   Page 3 of 18


 AO 242 (12111) Petition for a Writ ofHobeas Corpus Under28 U.S.C. j 2241




          (b) If you answered "No," explain why you did not appeal:



8.        Second appeal
          After the first appeal, did you file a second appeal to a higher authority, agency, or court?
         lWYes                          ONo
          (a) If "Yes," provide:
                    (1) Nameoftheauthority,agency,orcourt:                  BOP Central .Office (D.C.)

                    (2) Date of filing;            Ma       1     2018
                    (3) Docket number, case number, or opinion number:
                    (4) Result:       Denied
                    (5) Dateofresult:   August 29, 2018
                    (6) Issues raised:



                                                                                                                .C:.'




9.       Third ~ppeal
         After the second appeal, did you file a third appeal to a higher authority, agency, or court?
         □ Yes                         ~o
         (a) If"Yes," provide:
                 (1) Naine of the authority, agency, or court: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                    (2) Date of filing:
                    (3) Docket number, case number, or opinion number:
                    (4) Result:
                    (5) Date of result:
                   ( 6) Issues raised:




                                                                                                                        4of 10
                                                         Case 3:19-cv-00093-JR       Document 1       Filed 01/18/19       Page 4 of 18


           A024l(l2/11) Petition fora Writof:Habcas CozpusUndcr28 U.S.C. § 2241




                              (b) If you answered ''No," explain why you did not file a third appeal:                   Not Available


           IO.                Motion under 28 U.S.C, § 2255
                             In this petition, are you challenging the validity of your conviction or sentence as imposed?
                             □Yes                                    trNo
                             If''Yes," answer the following:
                             (a)     Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
                                                □ Yes                         □ No
                                                 If "Yes," provide:
                                                 (1) Name of c o u r t : - - - - - , - - - - - - - - - - - - - - - - - - - - - -
                                                 (2) Case number;
                                                 (3) Date of filing:
                                                 (4) Result:
                                                 (S) Dateofresult: - - - - - - - - - - - - - - - - - - - - - - - ' - - -
             . .-<_:,,- "' -· ,-                 (6f Issues raised: ·                              .;.-::..:.
                                                                            -------------------------



                            (b)                Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                                               seeking pennission to file a second or successive Section 2255 motion to challenge "this conviction or
                                               sentence?
                                               □ Yes                     XaNo
                                               If"Yes," provide:
                                                (1)       Name of c o u r t : - - - - - - - - , - - - - - - - - - - - - - - - - - -
                                                (2)       Case number:
                                                (3)       Date of filing:
                                                (4)       Result:
                                                (S)       Date of result:
                                                (6) Issues raised:




,. ·-·•-s::: ._._ ~-- --- ·- ,.·::.. ___. -- --~-----'--~:: .
                      Case 3:19-cv-00093-JR                Document 1   Filed 01/18/19      Page 5 of 18


A024l(l2/11) P.Udonfor a WritofHabeasCotpusUDdtr28 U.S.C. § 2241




        (c)       Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
                  conviction or sentence:




11.     Appeals of immigration proceedings
        Does this case concern immigration proceedings?
        □ Yes                  ltj:No
                If"Yes," provide:
        (a)     Date you were taken into immigration custody:·
                                                                  -----------------
        (b)     Date cif the removal or reinstatement order:
        (c).    Did you-file an api:ieaJ with the Board·.of Immigration Appeals?                                 >   :   •~ • • •




                 □ Yes                         □ No
                 If ''Yes," provide:
                 ( l) Date of filing;
~-~~~-(~rf)as!Hlumbe~-~--~~~~-~~,                                        ~~~~~~~-~~~-~--~~~·


                 (3) Result:
                 (4) Dateofresult: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 (5) Issues raised:




        (d)      Did you appeal the decision to the United States Court of Appeals?
                 □ Yes                         l!JCNo
                 If ''Yes," provide:
                 (1) Name of court: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 (2) Date of filing:
                 (3) Case number:
                         Case 3:19-cv-00093-JR                       Document 1       Filed 01/18/19   Page 6 of 18

AO 242 (12/11) l'etitioo f\,r a WritofHJlbcas CotpUS Under 21 U.S.C. § 2241

                     (4) Result:
                     (5) Date ofresult:
                     (6) Issues raised:




12.      Other appeals
         Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
         raised in this petition?
         □ Yes                          ~No
         If ''Yes," provide:
         (a) Kind of petition, motion, or application:
         (b) Name of the authority, agency, or court:


         (c) Date of filing:
         (d) Docket number, case number, or opinion number:
         (eJ Result: ·                                          • _.,-.,;.,.,. " ..
         (f) Date of result:
         (g) Issues raised:




                                                Grounds.for Your Challenge in This Petition

13.      State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
         laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
         facts supporting each ground.


      GROUND ONE:                     My DHO Hearing was not fair and impartial
                     Case 3:19-cv-00093-JR                     Document 1   Filed 01/18/19   Page 7 of 18



AO 242 (12111) Petition !bra Writofl!abtas Co,pus Unda 28 U.S.C. § 2241

        . (a)Supporting facts (Bo brief. Do not cite cases or/aw.):
            The SIS investigator tol<il me to either take the shot on· the chin
           or that I would receive more time and sanctions. Told me if I ~id
           not fight, I would 'get minimal sanctions and that the DHO was also,
           "on· board" and that they communicated via email about it.
            Please see &ttached Affidavit of Truth for more indepth facts

         (b) Did you present Orouod One io all appeals that were available to you?
      Xl'il Yes                       CJ No

      GROUNDTWO:              BOP staff are manipulating NIK test results and using
           the testing kits in ways that the manufacturer specifically states
           not to in the instruction manual. They are using antiquated tests
           to try.and detect newer, "designer drugs" that the tests are not·
         (a) Supportingfacts(21ebrief. Donoraireaasesorlaw.): made for.
               I have obtained and attached the instruction manual from the NIK
               kit manufacturer.
            Please see attached Affidavit of Truth for more indepth facts
            Please see attached NIK instruction manual (3 pages)
                                                                                   _____     ,....__.,   -··



        (b) Did you present Ground Two in all appeals that were available to you?
      X~Yes                           □ No


    GRO~THREE: NIK Testing kits expire after 1 year shelf life, yet
      BOP keeps no logs of when testing kits expire.


        (a) Supporting facts (Be brief. Do not cite cases or law.):
            I have requested from several staff members as well as filed FOIA
            requests for copies of the NIK Kit logs and testing procedures.
            BOP will not even acknowledge my FOIA's. Local staff are evasive
            and will not provide documentation or answers.
            Please see attached Affidavit of Truth for more indepth facts


        (b) Did you present Ground Three io all appeals that were a'l'.ailable to you?
        □ Yes                        □ No


                                                                                                               Pagc8of 10
. ,\'
         .   '., '   .               Case 3:19-cv-00093-JR                Document 1          Filed 01/18/19   Page 8 of 18


         AO 242 (12/ll) Petition fora Writofllllbcas Corpus Under 28 U.S.C. § 2241

                     GROUND FOUR:       BOP ·staff and SIS specifically are aware of the issues
                          with false positives y~t refuse to take any action to correct it.


                         (a) Supporting facts (Be brief. Do not cite cases or law.):
                              I had an at length conversation with SIS Lt. Bance regarding the
                              false positives for amphetamines when testing multiple types of
                              papers and substances. He confirmed to me that he too knew of
                            . the exact same false positives but refused to provide me with a
                              memo to submit with my appeal.
                             Please see attached Affidavit of Truth for more indepth facts

                         {b) Did you present Ground Four in all appeals that were available to you?
                     X~es                          □ No


        14.              If there are any grounds that you rud not present in all appeals that were available to you, explain why you did·
                         not:




                                                                         Request for Relief

        15. Stateexactlywhatyouwantthecourttodo: I am requesting that my write up for a 111
         introduction be expunged and that my 41 GCT be restored.




                                                                                                                                  Poge9of 10   ·
                                     Case 3:19-cv-00093-JR                     Document 1           Filed 01/18/19           Page 9 of 18

•.       ,

'    .       AO 242 (11/)1} Pelman lbra Writ of Habeas Corpus Undor 28 U,S.C. § 224 I ,

                                                                Declaration Under Penalty Of Perjury

                       If you are incarcerated, on what date·did you place this petition in the prison mail system:
                                                 January 16, 2019

             I declare under penalty of perjlll'Y that I am the petitioner, I have read this petition or had it read to me, and the
             infol'!Dation in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
             for prosecution for perjury.




             Date:           January 16, 2019




                                                                                          Signature ofAttorney or other autharized person, if a,zy




                                                                                                                                                                  Page 10 of 10
                                                                                                                                                              --=~-·=-· --~--"·· ----- '
                                                                                                                                ······' .. _'.._~"---=---~:..=.
Case 3:19-cv-00093-JR            Document 1              Filed 01/18/19               Page 10 of 18

                                                                                 l90-541




            nik®
           PUBLIC SAFETY
                                                 SYSTEM OF
                                                 NARCOTICS
                                               IDENTIFICATION
                          INSTRUCTIONS FOR USE

           TEST I - LEIBERMAN'S REAGENT
           FOR: General Screening Test
           Test Function
            L This reagent system presumptively identifies several drugs
              when used in conjunction with the other field drug kits
              included in the NIK® Club. Drug Kit. This test is to be used
              after a Brown result in Test A or a clear result in Test A
              followed by a no change result in Test G. Please refer to the
              NIK" ldentidrug™ Chart for results.

            How to Use Test I
            I. Remove clip and insert into the test pack an amount of
               powdered suspect material that would fit inside this circle.           D
               Reseal with clip and tap gently to assure material falls to the
               bottom of the pouch.
            2. With the printed side of the test pouch facing you, break
               ampule by squeezing the center of the ampoule with the tips
               of the thumb ;rnd forefinger. Agitate gently and observe the
               color or color changes.

            Interpretation of Resulting Colors
            I. Refer·to the NIK® ldentidrug™ Chart for test results.
            2. It is advisable that this test be used in conjunction with the
               other tests listed on the NIK~ ldentidrug'M Chart.
            3, If the resulting color(s) is not listed on the NIK" ldentidrug™
               Chart, stop testing. The NIK" Polytesting System has not
               presumptively identified any controlled substances.




                                           CAUTION
              A. Since these tests contain strong acids, it is suggested that Test
                   F • Acid Neutral,izer be used after testing and before disposal.
              B. Before discarding used test packs, remove clip and add one
                 measure of acid neutralizer from Test F.
              C. Add slowly to prevent bubbling over.
              D. 00 NOT reseal the test pouch until effervescence has completely
                 stopped.
              E.   Reseal pouch with clip and discard in a tamper-free disposal
                 unit.
              F. No attempt should be made to crush the glass particles after the
                 ampoules are broken.
              G. Antidote: In case of contact, immediately·flush eyes or skin with
                 water for at least 15 minutes while removing contaminated
                 clothing and shoes. If swallowed, do not give emetics. Contact a
                 physician.


                                           WARNING
             These tests are NOT designed for use with liquid samples.




               nik·,
              PUBLIC SAFETY
                                             13386 International Parkway
                                             Jacksonville, Florida 32218
                                             904.485.1836 FAX: 904.741.5407
                                                  Case 3:19-cv-00093-JR                                                                         Document 1                           Filed 01/18/19                        Page 11 of 18




                                                                                                                                                                                                                                         IMPORTANT: Follow the Polytesling flow
     IDENTIDRUG™ CHART
     for use with the NIK• Polytestlng System
                                                                                                                                                                                                                                            chart. Do not jump from sequence to
                                                                                                                                                                                                                                    sequence; i.e. follow the arrows from on~
                                                                                                                                                                                                                                                 test to another, noting the results.




                                                                                                                                                                                                ■ Codoi11e

                                                                                       Mcllt~dnne




        11-1111 = Color shift,change
                                                                         ,,,,,,,,,,~,,...,,,rt'<t,,o;_,r            ·,~-.....r:111,r""'
                                                                                                                                                                                                    Rollypnol, Val11,1m•
                                                                                                                                                                                                                                                     KelamiM


                                                                                                                                                                                                                                                                             ·•
                                                                                                                                                                                                                                                                             MelhlldOlle
                                                                                                                                                                                                                                                                                           """

            ~ = No color
                                                                         '"""~"'°'~""""'"'~•1/,;,,y.n
                                                                         1~1~111-1...

                                                                         '~-,~~--~om«nr,/>
                                                                         ,,._..,,...,,.,..,,,,,,,,._~"
                                                                                                                    _,,,..,...._ ............ -M_
                                                                                                                    -·•ll<>lltM.-11><--
                                                                                                                    r,,,, .. _ _ _ _ , , _ .

                                                                                                              _"",_,.,r,,,..,
                                                                                                              _,.._tr,nw..-f«i......,
                                                                                                                                     ..,p---                                                                               -- --      PCP
                                                                                                                                                                                                                            HOTr,1,.....,ll'~<fl'CI'

                                                                                                                                                                                                                                  .....
                                                                                                                                                                                                                            w,;,_n.....,"""'""'""'
           ---
                                                                         tr.,,,,,MV/hlur,,,,.<...,:,<>,       _ _ .. li<l,..lffl','<¢/1,,                                                                                   fl'M<Olor,m,,IIOllll>el.,I
                                                                         .,..........,,_.,..l)..,~11,,J ,...,,_,,..n..,,.u..,
                                                                                                              n...._ ..          __                                                                                        -"<1.l-v,dol,.,.;t_,
                         = Color change                                  ,.lo;,'11"'-..,.......,,..,,,,,.,uz,                                                                                                              tMr«.t.••••p.llk-
                                                                         """"'1,r.,..-.,.w,r-,_,,.,,          "°',_It.I',...,.,,.•""""'-
                 . ,,.,..,
                                                                                                                                                                   - i
                                                                                                                                                      i"~•-'• .i -~-
                                                                                                 : --           ~--
                                                 NQIJUAXA, IWIU$1f & Tl!C                                  MtnWllll,lOllt                             TAlWUI & PIKTilOCtlU               PkOPOril'HOO: lD.UVOIP)
                                                                                                                                                                                                                                         "'"''""
                                                .i
     lr.e t~:s "' 11>-1 ,,rt .,,. rl'I.
                                                                                                                                                                                                  1,1,1.,..~.,,...._.

                                                                                                                                                                                                                                                                     nik•
                                                               l,0Tfr1"'1s1'                                   hOTf,lhM\IIIJJIOI
     tn<IIJ<le4 !II U.l N(IUU,C fVlltO>.
                                                               ...._ieu,,n,.,,                                 ...1,1..-,- ......                                                                 ..... .... __
     IIOQ!4M:tt.s:.fu."',,:cob!,•"N
                             t-....                            ,...,,.,.:,1 ,.,-<~                                                                          ~cd<,•<t'>tl>o
                                                                                                                                                                                                  p<_,,

                                                                                                                                                        --- ,.·• _.,__ -
     ..;,.,,,. W•-ll ,..,d     r....-.,                                                                        ~ll~te.1,-.i.A
                                                                                                                                                            tnr~.
                                                                                                                                                                                                  .r...~ u..  -.,,.,;1

 -~
                                                               ••na;l! .. ,op,~l:,
                                                                                                               _.,.,~
                                                                                                                                                                          .........
     - " d lo T..i A -     ~Cl" 1/1<                                                                                                                        /ollg,,,,e,;lby&n
                                                                                                              ""'"-"~               .........
     lvlJl,:,lort~ "'"""n<;f1l•II

                                                                                                              ..........
                                                               ;,.•d hn Htn:irnq                                                                            'IMIN""!tye,"""u
                                                                                                                                                                                                                                          •~-•w•
                                                                                                                                                                 ---
                                                                                                                                                                                                  hq,o'W'O"'.l!ft,:,...
     ~l~~d1.-1td                                               10.,~(llk
                                                                                                              ~•'"'"'..,.,,.,                                                                                                '

                                               ·•
                                                                                                                                                  I
                                                                                                                                                                     .,,._i.
                                                                                                                                                            l>-IHmt.oW"'1P>!I><.
                                                                                                                                                                                                  .--'""-""                                                       PUBLIC SAFETY. INC.
                                                                                                              ""'_,__
                                                               p:,,ch ~•Wdl"'\                                                                              M>:»'d
                                         w~,                   (>;0,,,0prnptl<,C/l
                                                                                                               "'-•Nl'O',,_                                                                       """~""                                  lnl._,•11>1~


                                                                                                                                                  ·□
 This l.rfr:t '"~""" ,n          ,...
 ,t!k,;,b,  ""°"
              01 ,1ttca 11u,    "~"'OCJ                        a,,,:1,,1 ....,.,                               !~J.ntl.-.                                   ldf:<lll(,nJ,\1,¥,Jtl.                IIM...._.nt~I>
                                                                                                                                                                                                                             ·Ill         p.,s,u,1plr,d1          13386 lnltmaUonal Plllkway


                                                                                                                    . ·----
                                                               s,,,o1, ....-11~tt..                                                                         lo\l.lYl1'th~                         re11Al<r,..,.=lonl--                    idcntifo«r[r,t,e,w,t.     Jacia.Dmille, fl322l8
 di:,~o:.~~Cll>"Ctt-¥t,.                                                                                                                                                                          ... . . . _ ... l,;,,o
                                                               1'<>,,<h'"'4p.w;=I                              '"""'"" r.. ""                               Pffltuo<<>el<!,..                                                                                       Tel: (800) 852-0300cr
                                               'lil                                                           «.--............
 PART, 1!")6nl AOV £001                                        ,n)/llull"I


                                                                                                              '"'""""'-                                                                           -f'R•-
                                                                                                                                                                                                  ..-do.,.,,:..             :1cr~~~=:~                                   (9041486-1836

        Ot.q,,,r,t 10',1 8l£ fy,t....,
                                                 ',j•~'ICIM,
                                               lb'1>><1!.I. Tift
                                                                                                               a,,!J... j!,,rf'U'_


                                                                                                                                                                      -··                                                   t"-,._.rlN!""'i.._h_,,,.....,
                                                                                                                                                                                                                                                                   -.armorforeR$1(3..COfl1




L_
                                Case 3:19-cv-00093-JR                           Document 1                Filed 01/18/19               Page 12 of 18
[:




     Introduction to the                                             Plant material • Begin testing with Test E. Use only a      Breaking the Chemical Ampoules
                                                                     few leaf fragments.
     NIK Polytesting System                                                                                                      Care should be laken when breaking the glass ampoules
                                                                     Suspecte'd Brown or Black Tar Heroin - Begin testing        in each test. Each test includes a plastic "harness" that
     The NJKfl System of Narcotics Identification is based           wilh Tes! L                                                 serves to hold the ampoules in place and protect the
     upon a polytesting procedure whereby a suspect                                                                              user from injury. Press firmly in the center of lhe
     material Is subjected to a series of progressively              Liquid samples - NIK" tests are NOT designed !or use        harness to break each ampoule. Once the glass has
     discnmmating screening tests. The results of individual         with liquid samples. However, liquids may be tested by      broken, do NOT continue to crush the glass ampoules,
     tests moy er msy not yield a \';;!id result. Howe\ler, the      placing the tip of an NIK~ SUBSTANCE LOADING                as a shai-d may puflcture the pouch and result in injury.
     sequential results of :$everal tests provide a high degree      DEVICE or a 1cm square (roughly 1/2" square) piece of
     of certainty that the suspect material is in fact what the
     NIK& Polytesting System indicates ii to be.
                                                                     paper into the liquid. Remove and allow to air dry. Place                             ,--
                                                                     the dry paper into the test pack and proceed with the
                                                                     test as instructed. The choice of paper is critical.
     Ongoing el(periments are conducted with hundreds of licit
     and illicit chemical compounds in an effort to eliminate
                                                                     Unscented, uncolored filter paper is ideal. NEVER use
                                                                     brown paper, hand towels or newsprint.
                                                                                                                                                            /
     false positive results, However, no chemical reagent
     system for field use exists that is capable of eliminating      Determining the amount of
     occasional invalld test results. A complete forensic
     laboratory would be required lo qualitath,ely identify an       suspect material to use                                             @:j;j:@:§011
     unknown suspect substance. In the absence of such a
     laboratory, utilizing the NIK• Polytesting System is your       The amount of suspect material nei::ded to make a
     best ass~rance-that the presumptive results of a positive       successful test varies wilh lhe amount and purity of the
                                                                     material. With the exception of plant material, gelatin                Not here
     identification are what they appear to be.
                                                                     squares, etc., you should begm by using the loading
     Always begin Polytcsling with Test A and continue from          device to collect an amount of powdered suspect
     test to test until a positive or negative result is obtained.                                            D
                                                                     mater_ial that would fit inside this circle:  If the
                                                                     resulting colors are too weak, use more material; if too
     Tests E, L, M, N, P, Q and R are exceptions to this rule
     and are designed as standalone tests.                           intense, use less.                                          Interpretation of Test Results
                                                                                                                                 For any test. there are three important factors you
     EXAMPLE: Beginning with Test A, a suspect material              Safety Precautions                                          should look for:
     sequences from orange to brown within 10 to 12
     seconds. Following the Polytesting Chari, Test U comes          Many of the tests in lhe NIK" Polytesting System                I The color or lack of color        ~
     next in sequence. A blue result in Test U confirms the          contain strong ac1d(sl or bases. Always insert a portion
     presence of Methamphetamlne. A reddish-pink or                                                                                  2. The color change          ~@
                                                                     of Pack F (Acid Neutralizer) into the.test pack after           3. The location of colors in  .,.;:;.-
     negative result in Test U indicates an Amphetamine•type         testing and before disposal of the used test.pack. Once
     compound. Only by following the proper sequence of
     tests from A to U is a positive result obtainad.
                                                                     an ampoule has been broken, no attempt should be
                                                                     made to further crush the glass or tablet remnanls.
                                                                                                                                         the test pouch

                                                                                                                                                       PlNKUPPE_R~~;'' =
     General Polytesting Procedures                                  In the event that a tesl pack 01 chemical is ingested,
                                                                     seek immediate medical attenlion. If chemicals come
     Before testing can begin, it rs important to cio.ssify the      into r.ontact with the skin or e}•es, wz:;h the skin
     material using one of th1;i classifications below:              thorough!Y with soap and water. (lush eyes with water
                                                                     and seek immediate medical attention. Call (800)
     Tablets or other hard materials - Crush a part of the           /424~9300 or (202) 483-7616 to obtain additional            To view the colors correctly, hold the test pack roughly 2
     tablet into powder and insert into the test pouch.              safety i,:iformation.                                       lo 3 cm away from a white background. light must filter
                                                                                                                                 through the test pouch tO review the desired color results.
     Capsules - Open. the capsule, remove part of the powder         Store NIK" tests in a coot, dark area. Heat will speed up   Viewing test results under non~while light or over a
     and insert into the test pQuch.                                 the action of the chemicals in each test. and extreme       colored surface may result in an incorrect determination
                                                                     cold will slow them down. Appropriate care should be        of the resulting .color. Color results may not match the
     Powders - Insert powder directly into the test pouch            exercised. Do NOT store in direct sunlight. Technic'al      color on lhe pouch exactly, but should be viewed as a
                                                                     Assistance is available duri'ng business hours at: (800)    color family. Blue is always blue, regardle_ss of whether it
                                                                     852•0300 or (904) 485-~836                                  1~ dark or light.
         Case 3:19-cv-00093-JR     Document 1    Filed 01/18/19       Page 13 of 18




                         RECEIPT - ADMINISTRATIVE REMEDY




DATE: MARCH 23, 2018




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      WESTERN REGIONAL OFFICE

TO    BILLY STEFFEY, 68463-097
      LOMPOC USP    UNT: FCI      QTR   Z03-154UAD




THIS ACKNOWLEDGES THE RECEIPT OF THE REGIONAL APPEAL
IDENTIFIED BELOW:

REMEDY ID          934657-Rl
DATE RECEIVED      MARCH 19, 2018
RESPONSE.DUE       MAY 18, 2018
SUBJECT 1          DHO APPEAL - COMBINED (PROCEDURES, EVIDENCE    &   SANCTIONS)
SUBJECT 2
INCIDENT RPT NO:   3084272




 R~c.f lPf                                I


       f!(LJ IuIv
       Case 3:19-cv-00093-JR   Document 1    Filed 01/18/19   Page 14 of 18




Administrative Remedy No. 934657-A2
Part B - Response


You appeal the February 13, 2018, hearing decision of the Discipline
Hearing Officer (DHO) regarding incident report #3084272 in which
you were found to have committed the prohibited act of Introduction
or Making of any Narcotics, Marijuana, Drugs, Alcohol, Intoxicants,
or Related Paraphernalia, Not Prescribed for the Individual by the
Medical Staff (Code 111). For relief, you request the incident
report be expunged.

Our review of your disciplinary proceedings indicates compliance
with Program Statement 5270.09, Inmate Discipline Program. The
DHO's decision was based upon the evidence detailed in Section V of
the DHO report.  We find the determination of the DHO is reasonable
and supported by the evidence. Your Due Process rights were upheld
during the discipline process.   The sanctions imposed were
commensurate to the severity level of the offense committed and in
compliance with policy.

Accordingly, your appeal is denied.



                                             ~


Date
                                              cJS
                                            Ian Connors, Administrator
                                            National Inmate Appeals{fl-
                     Case 3:19-cv-00093-JR           Document 1        Filed 01/18/19      Page 15 of 18


TRULINCS 68463097 - STEFFEY, BILLY - Unit: SHE-A-R


FROM: 68463097
TO:
SUBJECT: Affidavit of Truth
DATE: 01/15/2019 08:57:54 PM

>                                             AFFIDAVIT OF TRUTH


     I, BILLY STEFFEY JR, being of sound mind and body, do hereby depose and state the following facts to be true
     and correct to the best of my knowledge and beliefs in accordance with 28 U.S.C., Section 1746. These
     statements are not designed to be misrepresentations of the truth, nor are they designed to mislead and/or
     deceive any third party(s) or entity(s). My statements to The Court are as follows;

     1. My true and correct name is BILLY FRED STEFFEY JR., and I am of age (40) to make this Affidavit of
        Truth.

     2. Prior to being transferred to FCI Sheridan, Oregon in March of 2018, I was incarcerated at Lompoc FCC Low
        in California.

     3. During my incarceration at Lompoc FCC, I became acquainted with inmate Patrick Johnson (Reg# 68603-065)
        hereinafter, "Inmate Johnson". Around September 2017, Inmate Johnson and I discussed him suing the
        Portland Police in regards to his case. I suggested that he use the paralegal, "Lisa" that I had been using
        and was helping me file my 2255 as well to secure an eviction to have a tenant of mine out of state
        evicted. I gave Inmate Johnson the phone number and mailing address for Lisa.

      4. Inmate Johnson told me that he had contacted Lisa and that she had agreed to help him research his
         case and had mailed him a retainer agreement. He said she began working on his case.

     5. Around Thanksgiving of 2017, Inmate Johnson asked me if I still spoke to Lisa. I said yes, she was still
        helping me with an eviction process. He told me that they had a falling out because she started on
        some work for him and drafted a motion on his behalf and he did not provide her with the first payment
        as agreed, due to one of his friends flaking on him. He asked if she said anything to me about him and
        I said no. I only talked to her about him the one time I referred him to her.

     6. On 11 /26/1 TI emailed Lisa to give her the USPS tracking number for a $1,000 payment my father sent
        her office for a payment for me. In response to that email, I received a reply that said, "I see you like
        to play games, I have a game you are going to love". I had no idea why she would send me a threatening
        email. I immediately began emailing her back asking what she was talking about and if she had meant
        to send me that email. I asked if she had the wrong guy. I sent her about 10 unanswered emails over a
        course of about 10 days.

     7. After about 10 days, on 12/5/17 I finally received a one sentence email reply from Lisa that said, "I
        reached out 70171450000084946239". She did not comment or address the email sent on 11/26/2017.
        just let it go and I assumed she had emailed me that threatening email by mistake. I also assumed, as
        you can see by my attached emails, that she had mailed me copies of the court filing for the eviction and
        a copy of the papers for my records and that was what the tracking number was for.

     8. The following day, 12/6/17, SIS Aguilar escorted me to the SHU for a code 111 Introduction of
         narcotics. He did not give me any further details of why I was being placed in the SHU, only said to me,
        "your eviction papers came".

     9. The following day 12/7/17 Inmate Johnson arrived in the SHU in a cell across from me where we were able
        to communicate. He told me that SIS Aguilar locked him up for the same incident. Inmate Johnson told
        me, "SIS asked me why inmate Steffey would have the tracking number for your legal mail?"

    Ill
    Page 1

>
                    Case 3:19-cv-00093-JR           Document 1       Filed 01/18/19       Page 16 of 18


TRULINCS 68463097 - STEFFEY, BILLY - Unit: SHE-A-R


    10. After being in the SHU for several weeks, I was advised by SIS Aguilar that my case was being referred
       to the FBI for prosecution. During that interview, SIS Aguilar said that I was in the SHU because inmate
       Johnson received legal mail that tested positive for amphetamines and that it was "Spice". He said that
       I had an email that contained the tracking number for the letter inmate Johnson received and that was why
       I was in the SHU. I denied all wrong doing. I explained I gave him her information, but that there was
       nothing illegal going on.

    11. After several more interviews, over several months, I was told that the package contained "designer drugs"
        but none were actually identified. I was also told the FBI declined prosecution.

    12. At the final interview with SIS Aguilar, he told me that his boss said that someone had to get a shot, and
        because I had the tracking number, it would be me. I explained that I was not the one who the package
        was addressed to and that there was no other evidence, conversations or informants linking me to any
        wrong doing. I explained emphatically that I had no involvement in anything illegal. He then told me,
        "If you take the shot on the chin and you don't fight it, I will make sure that you don't do any OS time
        and that you will receive much easier sanctions. If you do fight this, I will make sure that you do 180
        days more in the SHU and that you receive the maximum sanctions and I will also personally contact the
        AUSA and ask them to prosecute you. He said that he had spoken to OHO Chetwood via email and phone
        and that OHO Chetwood would agree and, "was on board with him".

    13. I chose not to fight the charges out of fear of retaliation that I would receive additional punishment
        and possibly be prosecuted for something that I had no clue about. As you can see by my sanctions,
        the OHO (Chetwood) was definitely, "on board". I have about 10 examples of other inmates that received
        the same write up for 111 introduction and received night and day different sanctions, much heavier.

    14. When I went into my OHO hearing, OHO Chetwood read the allegations and said to me, "I have already
        talked to SIS Aguilar and he told me the deal." OHO Chetwood kept the "deal" that he and SIS Aguilar
        had pre-arranged prior to my hearing. I received a ridiculously lenient punishment. I lost 41 good days
        and 180 days of commissary. I did not lose my visits, I did not lose my email, I did not lose my phone
        I did not have to serve any OS time nor did I receive any monetary fine. These sanctions show that
        there was definitely a pre-arranged "deal" between SIS Aguilar and OHO Chetwood. This also shows that
        my hearing was not fair and impartial and that it was pre-determined prior to me even having the
        hearing. Before I walked in there, my guilt and sanctions were already made up. Normally an inmate
        would complain of the harsh sanctions, in this case it was the opposite, yet it proves my point. I have
        included several cases of other inmates who received a 111 sanction and you can see the enormous
        difference in sanctions lost and good time taken.

    17. It is common knowledge that the NIK tests that BOP uses are notoriously manipulated by BOP staff and
        will show false positives for amphetamines if you test a paper towel, toilet paper, ink jet paper, sage,
        etc. I have personally seen inmates receive shots for the items listed above and then later be cleared
        of wrong doing when the lab results come back. I have spoken to both SIS Lt. Bance and counselor
        Rodriguez who both confirmed they were aware of the false positives, but both refused to provide me
        an affidavit to include with my BP-11. Staff don't want to be the one to blow the whistle. I also have reason
        to believe further testing was done by a lab and that those results could clear me but were never disclosed
       to me because the action was over.

    18. Even the instruction manual (enclosed) from the manufacturer of the NIK test is clear that the test is not
        designed to be used with liquid samples and that paper is "critical" to the outcome of the test. The manual
        stresses that, "the choice of paper is critical. Unscented, uncolored, filtered paper is ideal". The NIK
        manufacturer sells these approved strips for testing.

    19. The NIK test being used by BOP is antiquated and a basic, general test for "classic" drugs (i.e. marijuana,
        cocaine, heroin, methamphetamines, etc.) and is riot even capable of detecting "designer, club drugs".
        Page 1, paragraph 1 (Test Functions) of the NIK kit states, "This reagent system presumptively identifies
        several drugs when used "in conjunction (emphasis added)" with other field drug kits". It gives an
        example of NIK Club Drug Kit (a separate kit) which was not used in my case.

   Ill
   Page 2
                      Case 3:19-cv-00093-JR            Document 1         Filed 01/18/19       Page 17 of 18


TRULINCS 68463097 • STEFFEY, BILLY· Unit: SHE-A-R



       20. The write up I received specifically states that I was involved in the introduction of "designer drugs" The
           drug SIS Aguilar accused me of introducing was "K-2" or "Spice". This is a synthetic form of THC. These
           new breeds of designer drugs are not used or trafficked in the classical sense. These designer drugs are
           applied to paper in a liquid form and are then later smoked to get high.

       21. It has also came to light that the corrosive acids in the NIK kits are only good for one year. These tests
           have a one year shelf life, yet BOP has not and does not keep any logs of the expiration date on these
           tests and cannot show that the test that was used was not expired itself.

      22. The instruction manual from the manufacturer also makes it very clear that these tests only provide a
          presumptive result, not a conclusive one. If you look at the instruction manual from the actual
          manufacturer, page 2 identifies the substances the NIK test can detect. No where in there is K-2 or
          Spice one of those substances. Not the technical name or the street name is listed. However, they
          do make a kit that can detect these substances, however it was not used in my case, nor does BOP use
          them.

      23. It is a huge epidemic in BOP that staff misuse these NIK tests and manipulate them to cause false
          positives. I have read cases from almost every Circuit, of inmates that are claiming the same issue
          of false positives. In light of this, BOP takes no steps to investigate the issues of these false
          positives, nor do they keep a record of known false positives. They abuse this, knowing that they don't
          need a "conclusive" result and that they only need a "presumptive" one provided by the NIK.

      24. I would also point out that BOP uses urine sample cups to detect narcotics such as cocaine, marijuana,
          heroin, opiates, methamphetamines, etc. These cups give an "instant" result as do the NIK test. If you
          have a positive result on one of these cups, BOP sends out 100% of those for secondary verification.
          BOP takes no adverse action against the inmate until the sample is sent to the lab and verified. They
          realize that false positives happen with these urine tests. Why is this different? Even the instructions
          declare false positives happen and that the NIK is only "presumptive". If BOP doesn't accept the results
          of the urine drug tests without verification by a lab, why do they accept the result of the NIK kits without a
conclusive, verification process? NIK tests are much more complicated and error prone than a standard
          urine test, and leave a huge margin of interpretation by the administrator of said test.

     Ill
     Page 3
                   Case 3:19-cv-00093-JR         Document 1       Filed 01/18/19     Page 18 of 18


TRULINCS 68463097 - STEFFEY, BILLY - Unit: SHE-A-R


FROM: 68463097
TO:
SUBJECT: Affidavit of Truth 2
DATE: 01/15/2019 08:16:43 PM

>   FURTHER AFFIANT SAYETH NOT.

                                          ACKNOWLEDGEMENT

    I BILLY FRED STEFFEY JR., Reg# 68463-097, hereby declare under the penalty of perjury that the foregoing
    "Affidavit of Truth" is true and correct to the best of my knowledge and my beliefs.




    Executed this~ay of (       ./4rzucl/)/ 2019
